OPINION — AG — CAN THE BOARD OF COMMISSIONERS BE AUTHORIZED TO EXPEND THE "ROAD FUND OF THE COUNTY" IN PAYING THE EXPENSES OF TRANSPORTING "SURPLUS COMMODITIES" FURNISHED FREE BY THE FEDERAL GOVERNMENT, FROM OKLAHOMA CITY TO CARTER COUNTY, WHERE SAME WILL BE DISTRIBUTED TO ELIGIBLE PERSONS APPLYING THEREFOR. IN THIS CONNECTION YOU STATE YOU HAVE BEEN ADVISED SAID BOARD THAT IT "MUST NOT USE ANY OF ROAD FUNDS TO PAY ANY OF THE EXPENSES IN CONNECTION WITH THIS MATTER" ? — YOU CAN USE THE ROAD FUND CITE: 56 O.S.H. 26.9, 56 O.S.H. 33, 56 O.S.H. 21, 56 O.S.H. 269 (FRED HANSEN)